






COURT OF APPEALS


EIGHTH DISTRICT OF TEXAS


EL PASO, TEXAS





ABELARDO SERA,


                                    Appellant,


v.


THE STATE OF TEXAS,


                                    Appellee. 

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No. 08-08-00310-CR



Appeal from


 409th District Court


of El Paso County, Texas


(TC # 20070D05135)





MEMORANDUM OPINION



	Abelardo Sera attempts to appeal his felony conviction of driving while intoxicated. 
Finding that Appellant has not timely filed his notice of appeal or a motion for extension of time,
we dismiss the appeal.

	The record before us reflects that sentence was imposed in open court on September 11,
2008.  Appellant did not file a motion for new trial.  He filed notice of appeal on November 3,
2008.  By letter dated November 4, 2008, we notified Appellant in writing of our intent to
dismiss this appeal for want of jurisdiction.

	A timely notice of appeal is necessary to invoke this Court's jurisdiction.  Olivo v. State,
918 S.W.2d 519, 522 (Tex.Crim.App. 1996).  Appellant's notice of appeal was due to be filed
on&nbsp;October 11, 2008, thirty days after the day sentence was imposed in open court.  See
Tex.R.App.P. 26.2(a)(1).  Because Appellant did not file his notice of appeal until November 3,
2008, he failed to perfect this appeal.  Accordingly, we dismiss the appeal for want of
jurisdiction.



January 29, 2009					                                                                         

							ANN CRAWFORD McCLURE, Justice


Before Chew, C.J., McClure, and Carr, JJ.

Carr, J., not participating


(Do Not Publish)


